 1   Raymond Parenteau
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 3   Phone (808)284-7463
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 4
     In Pro Per for
 5   Defendant/Appellee, Student
 6                          UNITED STATES DISTRICT COURT
                                   STATE OF OREGON
 7
                                  MEDFORD DIVISION
 8                       _______________________________________

 9    GRANTS PASS SCHOOL DISTRICT,                 Civil Case No.: 1:14-CV-1115
10
                           Plaintiff/Appellant,
11    vs.                                               ANSWER TO COMPLAINT

12    STUDENT,                                     Appeal of Hearing Officer’s Decision
                                                   Pursuant to Individuals with Disabilities
13                        Defendant/Appellee.      Education Act (“IDEA”)
14
            NOW COMES Defendant/Appellee, Student, and in Answer to Complaint does
15
     state as follows:
16

17
                                    CLAIM FOR RELIEF
                    (Appeal of Hearing Officer’s Decision Pursuant to IDEA)
18
                                     NATURE OF ACTION
19
     Paragraph 1.
20

21          In answer to paragraph 1, Defendant/Appellee admits as true.

22                               JURISDICTION AND VENUE
23
     Paragraph 2.
24
            In answer to paragraph 2, Defendant/Appellee admits as true.
25

26
 1   Paragraph 3.
 2
             In answer to paragraph 3, Defendant/Appellee admits as true.
 3
                                             PARTIES
 4
     Paragraph 4.
 5

 6           In answer to paragraph 4, Defendant/Appellee admits as true.

 7   Paragraph 5.
 8           In answer to paragraph 5, Defendant/Appellee admits in part and denies in part.
 9
     Student attended ESY in the District during the summer of 2013 prior to entering the 8th
10
     grade and attended North Middle School for the 8th grade during the 2013/2014 school
11
     year.
12

13                                 FACTUAL ALLEGATIONS

14   Paragraph 6.
15
             In answer to paragraph 6, Defendant/Appellee admits as true.
16
     Paragraph 7.
17
             In answer to paragraph 7, Defendant/Appellee admits in part and denies in part.
18

19
     Student enrolled in the 8th grade at North Middle School.

20   Paragraph 8.

21           In answer to paragraph 8, Defendant/Appellee admits as true.
22
     Paragraph 9.
23
             In answer to paragraph 9, Defendant/Appellee admits in part and denies in part.
24
     There was disagreement from the parent regarding the IEP developed November 20th,
25

26   2013 and parent did disagree regarding delaying the ESY determination.


                                                -2-
 1   Paragraph 10.
 2
            In answer to paragraph 10, Defendant/Appellee admits in part and denies in part.
 3
     District delayed making the ESY determination until after Spring break because they
 4
     were under the mistaken assumption it was a requirement to wait until after Spring Break.
 5

 6   Paragraph 11.

 7          In answer to paragraph 11, Defendant/Appellee admits as true.
 8   Paragraph 12.
 9
            In answer to paragraph 12, Defendant/Appellee admits as true.
10
     Paragraph 13.
11
            In answer to paragraph 13, Defendant/Appellee admits as true.
12

13   Paragraph 14.

14          In answer to paragraph 14, Defendant/Appellee admits as true.
15
     Paragraph 15.
16
            In answer to paragraph 15, Defendant/Appellee admits in part and denies in part.
17
     ALJ House final order for DP 14-102 did not find the District had appropriately delayed
18

19
     making an ESY decision until after Spring break in order to gather more ESY data. The

20   plain language of the final order did not say that.

21   Paragraph 16.
22
            In answer to paragraph 16, Defendant/Appellee admits in part and denies in part.
23
     Everything written after “Student’s parent stated that he disagreed…” is fiction penned
24
     by the attorney for the Plaintiff – Appellant.
25

26   //


                                                  -3-
 1   Paragraph 17.
 2
           In answer to paragraph 17, Defendant/Appellee admits as true.
 3
     Paragraph 18.
 4
           In answer to paragraph 18, Defendant/Appellee admits in part and denies in part.
 5

 6   The Final Order is not inaccurate nor incomplete.

 7   Paragraph 19.
 8         In answer to paragraph 19, Defendant/Appellee asks the court not to reverse the
 9
     below noted conclusions of law and/or orders, but rather uphold the below noted
10
     conclusion of law and remand the case back to ALJ House for a clarification that the
11
     Final Order does not reference the Annual Goals and Short Term Objectives of the May
12

13   23rd, 2013 IEP:

14         a.     That the “District failed to provide ESY to Student in Student’s IEP for
15
                  summer 2014. District’s failure to provide ESY constitutes a failure to
16
                  provide with a free appropriate education (FAPE) to Student as required
17
                  under IDEA”; and
18

19
           b.     That an appropriate remedy for the above violations is to provide ESY of

20                360 minutes per day, at a schedule mutually agreeable to the parties,

21                sufficient to maintain student’s skills and behavior with regard to Student’s
22
                  Annual Goals and Short Term Objectives as set forth in the May 23, 2013.
23
     //
24
     //
25

26   //


                                                -4-
 1   Paragraph 20.
 2
            In answer to paragraph 20, Defendant/Appellee agrees with the findings and
 3
     conclusions of law and/or orders described in Paragraphs 18 and 19 of the complaint and
 4
     contends:
 5

 6          a.    The District did fail to provide ESY to Student as determined through the

 7                above noted administrative hearing; and
 8          b.    The Student was denied a Free Appropriate Public Education and
 9
                  educational benefit.
10
            WHEREFORE,         Defendant/Appellee,        Student,   respectfully   requests   this
11
     Honorable Court grant the following relief:
12

13          A.    Dismiss Plaintiff/Appellant’s Complaint in this matter.

14          B.    Grant Defendant/Appellee his costs in having to defend against the
15
     Complaint.
16
            C.    Remand the case back to ALJ House for a clarification that the Final Order
17
     does not reference the Annual Goals and Short Term Objectives of the May 23rd, 2013
18

19
     IEP.

20          D.    For such other relief the Court deems necessary and proper.

21
            October 15, 2014
     Dated: _______________                              ________________________________
22
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23                                                       In Pro Per for
                                                         Defendant/Appellee, Student
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